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April 16, 2024
Honorable John D. Bates
United States District Judge
United States Courthouse
333 Constitution Avenue N.W.
Washington, D.C., 20001


RE: United States of America vs. Joly Germine Docket No.: 0090 1:21CR00699-001


Your Honor:


I humbly prostrate myself before you in the name of the Almighty, while expressing my utmost
gratitude for your allowing me the opportunity to write you this letter.

Honorable Judge, I am a young man who was born in Haiti on October 24, 1992. I grew up in a
town called Croix-des-Bouquets. I had a twin, but he was stillborn. My mother was in labor for
three days. On the third day, she prayed to God and said, “you allowed me to get pregnant and if
you are going to take my child, take me too. Do not let me suffer.” Then, she fell asleep and saw
in a dream a man who came and washed her belly. He said to her, “since you asked me for a
child, I am giving you one. However, he will suffer a lot in his life.” Well, at the stroke of
midnight my mother went into labor. A man by the name of Roosvelt and another man called
Lener took my mother to an elderly woman, a doula named Hodansi. That was when they all
went into shock – when they saw that my mother had two babies in her womb. I have been
suffering since then.

I grew up with my mother and did not know my father because he traveled when my mother was
pregnant with me. Back then, there were no cellphones, only a telecommunications company that
provided phone services, so my mother was not able to stay in touch with my father. My mother
suffered a lot so that she could raise me. She sold whatever little merchandise she had in order to
care for me. On top of that, my mother had my big brother from a previous relationship whose
father did not take care of him.

My mother sent me to school. I completed my primary schooling in a city called La Plaine.
Sometimes, when she went to the market, my mother would leave us in the care of other people.
I was 10 years old when I met my father.

My mother left Haiti in 2008 to emigrate to the United States. We went to live with my uncle
Jolius Juste and my aunt Solange Juste who lived in Port-au-Prince. By then, my mother had
borne four children, and we all went to live with our aunt and uncle. I moved to Port-au-Prince
afterwards, and attended three different schools. In La Plaine, I attended Jean Guy Paul and
Cissiron. I went to high school at Lavoisie, still in Port-au-Prince. However, during school
vacations, I would go to La Plaine. I attended Fraternity School in Delmas 16 and lived in
Delmas 4.


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In 2011, a group of armed men entered people’s homes in the neighborhood. They raped the
children of these people and even made sons have sex with their mothers, brothers have sex with
their sisters, fathers with their daughters, and they raped mothers in front of their children. They
used toothbrushes to penetrate the women as well. They stole the population’s cows.

I was aware of these despicable actions perpetrated on the population of the city while I was still
in Port-au-Prince. However, every time I went to La Plaine, I felt the suffering of the people.

In 2012 I was in the ninth grade. That was when I dropped out of school and went up to La
Plaine. Ever since I was a child, I loved politics and always got involved in political debates.

I went back to La Plaine. However, went I arrived there, I found a population plunged into
misery because the situation had worsened. Some men entered a church in the area of
Thomazeau during an eventide prayer service. They grabbed the pastor and forced him to drink
a gallon of liquor; he died right afterwards and then these men raped the women.

Afterwards, I started talking to the farmers in the neighborhood who owned livestock such as
cattle, and to people who owned businesses. And then, a neighbor named Jean Claude, a former
soldier, gave me a gun. A .38 caliber. A police officer named Wilfrid gave me an M1 and I took
another gun from a guy during a Rara [TN: festival music used for street processions]. Later, I
went down to Cité Soleil and bought an additional four guns with money that people in the
neighborhood had given us. I am referring to the people who were cattle owners and business
owners who gave us supplies so that we could set up a neighborhood watch to watch out for men
who would come and steal people’s cows, but not every day. The cows’ owners built huge
corrals and gates to shelter the cows at night. The thieves came at night in big white trucks to
steal the cows in the neighborhood. That’s what prompted me to sit down with many young men
in the neighborhood. We decided to start a neighborhood watch to put an end to the crimes being
perpetrated in our community.

Honorable Judge, I am writing this letter to you in tears because this is my life story and I’ve
come a long way. If I am here today, it is by the grace of God and He has a plan for my life.

I was in charge of the neighborhood watch and that is the reason why I bear the responsibility. I
will not be discouraged. What people say will not change my beliefs.

I dropped out of school not because my parents were unable to pay my tuition. I dropped out
because of the crimes being perpetrated on the populace. We set traps and started watching out
for these men committing violent crimes on the residents. Even the police were not able to do a
thing. Even if they had been able to, they did not help the people. They left it to me to fight the
thieves. Meanwhile the police force was fully aware of the violent crimes these men were
committing against the populace.

When I was confronting these men, my mother, Jolita Juste, called me and said “son, get out of
the situation you are in. Your mother and father do not own cattle in Haiti. If you die, we will be
the ones losing you.” I told her, “No mother, God will not let me die.” I also told her that these
men were evil and had committed many crimes in the area and that not only did they steal cows


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and rape people, but they also cut people’s hearts out alive in exchange for cars and lottery
tickets. Afterwards they wrapped the bodies in sheets and disposed of them at the bottom of the
hills called Morne Kabrit in Thomazeau. Regardless of where they grabbed a person, they would
removed their heart and dispose of the body at the bottom of the Morne Kabrit hills. Yet, the
police accused the townspeople. So when I learned that, I set traps for the men disposing of these
bodies at the bottom of the Morne Cabrit hills. I had to set traps for these men since I could not
fight them face to face. The thieves had more powerful weapons than mine. I had to set a trap for
them. They would come to the neighborhood at nighttime to commit crimes.

This is how I found more young local people to join the fight. Subsequently, the cattle owners
and local business proprietors joined together and contributed additional funds, expressing their
satisfaction. Nighttime became a period of vigilance over the corrals to thwart potential thefts,
allowing me to rest during the day.

My struggle against the gangs spanned the period from 2012 to 2013. Throughout that time, I
refrained from theft or kidnapping. As 2014 began, some adversaries met their demise, others
faced imprisonment, and a few left the country. Consequently, the community bestowed their
adoration on me, saying they were unable to imagine a moment without my presence.
Leveraging my ownership of extensive land parcels, I ventured into entrepreneurship, managing
both my farm and personal business.

I sustained four gunshot wounds; [illegible] someone died and I witnessed casualties. But by
divine intervention, those who had been wounded escaped death.

Your Honor, I solemnly swear that every utterance in this testimony is the unvarnished truth. As
God is my witness, after this period of strife, I transitioned into politics, interacting with fellow
politicians. In 2014, a politician named Jean Renel Saintnatus, formerly a Government
Commissioner in Port-au-Prince's public prosecutor's office, provided Abraame with 10
firearms. Abraame informed me, “Here's what Saintnatus gave you and me.” Curious, I asked
him why. His response was, “We are going to the elections,” implying I would be involved in
campaigning on behalf of Saintnatus. I remained silent in contemplation. Subsequently,
Abraame handed me five guns. But Saintnatus consistently avoided direct communication with
me.

Saintnatus and Abraame were neighbors; they saw each other every day and frequently engaged
in conversation. Upon receiving the firearms, I informed Abraame of my decision not to
participate in campaigning alongside Saintnatus, nor would I endorse his candidacy to the
populace. It was evident that Saintnatus got his hands on these weapons when he was
Government Commissioner of Port-au-Prince in 2012.

Unbeknownst to me, Abraame went and reported to Saintnatus that I said I wouldn’t let people
vote for him. Subsequently, also unbeknownst to me, they devised a scheme against me. The
objective was either my demise or imprisonment. In 2014, the nine young men who had worked
with me left the country. Meanwhile, numerous candidates flocked to campaign in the region.
Despite this, I never consented to Saintnatus’ addressing the local populace.



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Your Honor, I categorically deny any involvement in theft or kidnapping before my arrest in
Haiti in January, 2015. My travels took me to various destinations, including visits to embassies,
departure from Haiti to the Dominican Republic and Puerto Rico. Had I been engaged in illicit
activities, evading law enforcement would have been feasible, yet I did not resort to hiding. I left
the neighborhood, traveling back and forth between Ti Goâve and La Plaine due to my residence
and business interests in the former area.

On Saturday, January 24, 2015, law enforcement apprehended me in Ti Goâve. The following
day, Sunday, January 25, I had planned to attend a political gathering and intended to travel to
Cite Soleil with a contingent of candidates opposing Saintnatus in the upcoming election. My
associate Tekyelo, who holds a political position and is responsible for Cite Soleil, had extended
an invitation to the event.

Honorable Judge Bates, I have detailed these events to provide context for the origins of my
life's journey. Yet the path ahead remains uncertain to me. I express this not as an excuse, but to
offer insight into the circumstances leading to my current predicament.

As soon as I arrived at the police station, the officers started beating me relentlessly. They
targeted my head with repeated blows while interrogating me about other politicians. Their
intention wasn't merely to detain me; it was only by the grace of God that I escaped further harm
that Saturday. When the police were leaving Ti Goâve, they were stopped by officers at the
police station of Ti Goâve who demanded they sign paperwork confirming my arrest. Reluctant
to do so, tension mounted. Finally, one officer said, "Why so many questions? The DCPJ issued
the arrest order, and it stands." With that, they left with me in the dead of night.

You see, the events of my life are etched into my memory. They constitute my past, my story.
When the police arrived at a speed bump on the road, they slowed down. The officers counted
and said, “there are six of them [speed bumps],Yonyon. You can stop counting them.” A sense
of powerlessness overwhelmed me and I involuntarily urinated. Subsequently, the police took a
detour onto a different route, blindfolding me in the process. I sensed the car ascending a hill.
They pulled me out of the car. I heard them draw their weapons, yet not a single bullet was fired.
In that harrowing moment, I beseeched God for deliverance, imploring Him that I not meet my
end in such a manner. I reasoned with myself: if I’m guilty, let justice prevail; if I’m innocent,
let this not be my fate. Then, a voice crackled over their walkie-talkie, instructing them to “bring
him over,” to which they responded, "OK boss.”

I spent one month and 21 days in custody at the DCPJ. During this time, I endured beatings
twice daily. Once I was transferred to the penitentiary, my fellow inmates concocted a makeshift
remedy of soap foam for me to ingest, as the injuries I had suffered as a result of the DCPJ's
brutality had severely compromised my intestines. When I used the bathroom, people could
smell it from far away.

Judge, I realize I've provided a lengthy account, but I implore your patience and understanding.
This narrative is not only factual but also profoundly distressing. At the time of my arrest, my
mother was in Haiti. There was a police officer named Blan who intervened to prevent further
violence against me. On one occasion when my mother brought me food, I noticed Officer Blan


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seated beneath the parking lot. I asked my mother to give him 10,000 gourdes [$75.81 USD] on
my behalf, which she did.

That evening, he [Officer Blan] visited me in detention and inquired, "Who is this woman to
you?" I replied, "She is my mother." He commented, "She is a good person." I affirmed,
explaining that such goodness was inherent in our family, and it was precisely because of my
compassionate nature that I found myself enduring such suffering. He empathetically
acknowledged, “I know.” Then, he leaned in and confided, “I am about to disclose something to
you, but you must promise not to reveal the source of this information.” I assured him of my
discretion, asserting my status as an adult. He proceeded, “What is the situation between you and
Zo Kiki?” Confused, I feigned ignorance, asking, “Who is Zo Kiki?” He clarified, “Jean Renel
Saintnatus, the former Government Commissioner of Port-au-Prince.”

At that time, Saintnatus had not yet assumed his role as Senator and was known by the nickname
Zo Kiki. I maintained my pretense of ignorance and responded, “I have no disagreement with
him.” Blan then divulged, “He is the who ordered your arrest. You were meant to die, but word
got out.” Blan advised me to persist in my prayers, regardless of the recipient or form of faith.

Honorable Judge, as I compose this letter, tears blur my vision, for the memories evoke immense
suffering. The pain I endured was so profound that death seemed a preferable alternative. I
sacrificed my education to safeguard the lives and property of others, eschewing criminality for a
life dedicated to honest enterprise, to cultivating the land. Yet, it seems fate has conspired
against me. Only the divine eye sees that Saintnatus orchestrated my arrest to empower
Abraame, enabling him to assert dominance over the entire community and coerce the populace
into voting for Saintnatus.

I paid a considerable sum to secure my release, yet release remained elusive. While detained,
another individual arrested alongside me was released in 2016 at Saintnatus's behest. My parents
depleted their resources in futile attempts to secure my freedom, only for the Haitian authorities
to confiscate the funds. Desperate for my release, my father resorted to pawning a necklace for
$4000 in US dollars, as each payment to the police promised my imminent release. To this day,
my father and mother recall the ordeal of that necklace.

In 2015, I handed over $5000 US dollars (equivalent to more than 425,000 Haitian gourdes) to
Lemoine Jelen, the Government Commissioner of Mirebalais. Subsequently, I provided $7000
US dollars to Attorney Thelusma. Following that, I handed over $3000 US dollars to Mario
Bovoi, the Government Commissioner of Croix des Bouquets.

Then, in 2017, I transferred ownership of a taxi truck I possessed, acquired for $8000 US dollars,
along with an additional 115,000 Haitian gourdes, to Attorney Jacob. On that occasion, I also
provided Attorney Jacob with 15,000 Haitian gourdes to assist an elderly inmate with his
paperwork, as the man was distraught and in tears every day. Regrettably, Attorney Jacob
squandered the funds without rendering any assistance to the elderly inmate.

What pained me deeply was this: in 2018, I faced trial and enlisted the services of another
lawyer named Rebert Cherie. Prior to this, my mother had entrusted 450,000 Haitian gourdes to


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Attorney Charles, but he squandered the funds. In preparation for the trial, I sold a piece of land
and handed 900,000 Haitian gourdes to Rebert Cherie, with the understanding that he would
share it with the court, as he claimed to have connections. However, a dispute erupted between
him and other attorneys at the firm, and news of the intended bribe reached Judge Djimmy Dube,
who was presiding over the trial.

Joane Dube, who worked at the Croix des Bouquets’ prison, was someone I befriended.
Unbeknownst to me, she was the Judge's sister. One day she approached me saying, "My brother
sent me." Confused, I asked, "Who is your brother?" She revealed, "Judge Dube." I was taken
aback, as I had no idea about their relationship. She explained that the Judge hadn't received any
money from my previous lawyer. Furthermore, she indicated that without intervention, my
release was unlikely. Urging her to speak on my behalf to the Judge, she returned the next day
saying he was requesting $20,000 US dollars. I said no, having already exhausted significant
funds. Eventually, with the support of my parents, we managed to negotiate the amount down to
$10,000 US dollars in April 2018.

I was immersed in a relentless court proceeding, enduring a trial that stretched over four months,
with daily summonses to court. In April, while still in detention at the prosecutor's office in Port-
au-Prince, the Judge informed me of his upcoming trip to the United States and assured me that
upon his return in May, the trial would conclude.

However, upon his return, I found myself summoned to court once again. Unfortunately, this
exemplifies how the justice system in Haiti functions. It heavily favors those with financial
means, leaving little room for true justice. Despite my continued appearances in court, justice
remained elusive.

Then came the moment when the Judge posed a question that struck me to the core: "What is the
issue between you and the Senator?" My heart sank. I replied truthfully, "Nothing." To my
surprise, he insisted that I seek forgiveness from the Senator, claiming that he had sent a letter to
the court urging the conviction of all defendants in the case.

In 2016, I was arrested alongside another individual who, rumor has it, was released due to his
alleged relationship to the Senator. Strangely, my case file was merged with that of a group of
men arrested during my school years, individuals I had no connection to or knowledge of.
Naively, I harbored confidence in my imminent release, especially considering the prosecutor’s
office had not even issued an indictment against me. I was certain of my innocence. Yet, to my
disbelief, they used the indictment meant for the other men and falsely charged me, further
subjecting me to abuse and injustice along the way.

The following day, on May 22, 2018, my girlfriend approached the judge, distraught and tearful,
seeking answers for the grave injustice inflicted upon me. Instead of offering solace or
understanding, the judge coldly responded by inviting her to speak with him privately "out
back." In a chilling display of cruelty, he ushered her into a room within the courthouse and
heartlessly remarked, "You cry too much standing up; I'd like to see you cry lying down."




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My girlfriend related to me the disturbing words spoken by the judge, adding to the anguish, on
top of the funds I had already paid him.

Honorable Judge, the extent of my suffering in this moment hardly needs articulating.

I must acknowledge my culpability in the acquisition of firearms alongside others, a decision
born out of a desperate bid for self-preservation.

In 2021, I found myself besieged by numerous threats, prompting me to confide in Ms. Tunis
and leading to one of our reasons for our decision to procure firearms. However, it is crucial to
clarify that I never coerced anyone into purchasing firearms, as was alleged in court. I empathize
with their predicament. Fearing incarceration, they fabricated falsehoods about me -- things that
are not true. Their actions were born out of a shared goal: to safeguard my life.

Another of the many reasons behind my involvement in purchasing firearms stemmed from a
lawyer named Erns Chery, who claimed to be affiliated with the government of Ariel Henry. He
demanded an exorbitant sum of $150,000 US dollars for my release. Realizing the impossibility
of raising such a staggering amount, I opted to procure guns with the intention of reselling them.
However, I provided Chery with an advance payment of $50,000 US dollars, with the
understanding that I would settle the remainder by December 2022. He assured me that I would
stand trial on that date and subsequently be released.

Your Honor, to be candid, I had never resided in the United States, nor had I ever set foot on
American soil, so I was therefore unaware of its gun laws. Moreover, none of the other
individuals involved in the gun purchases had informed me of the legal provisions surrounding
such transactions.

It wasn't until I found myself in court that I became acquainted with the laws regarding gun
procurement, a revelation that left me utterly dumbfounded. Had I been aware of these laws,
Honorable Judge, I would have vehemently opposed involvement in such activities, and I
certainly would not have condoned the participation of others, who are all like family to me.

Despite their noble intentions to safeguard my life, I would have pursued an alternative course of
action. For instance, Dor's older brother shares a child with my aunt, who is my mother's
younger sister. Additionally, one of my uncles has a child with Dor's sister. Furthermore, Saint
Louis is my cousin, and Eliande is my friend.

Your Honor, I acknowledge my guilt vis-à-vis the families affected by my actions. Nevertheless,
I must clarify that the decision to purchase firearms was a collective one, driven by shared
intentions.

My nights are haunted by tears, as the weight of my actions bears heavily upon me. I was merely
22 years old when I was arrested, and now at 32, I am uncertain of the time left to me on this
earth. I do not have children of my own, but the thought of my mother's suffering weighs heavily
on my heart.



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I do not beseech you for release, as I understand that you are bound by the law. However, I
implore you to exercise patience and discernment in your deliberations. My greatest fear is the
prospect of my mother passing away while I am incarcerated. She suffers from heart conditions
and mental health issues, and her tears are a daily torment. I know that she loves me very much,
and I love her deeply too. I cannot bear the thought of her enduring further anguish in my
absence.

I humbly ask you for forgiveness, and I solemnly pledge that I will never again involve myself in
such misdeeds. All I yearn for is the opportunity to reunite with my family.

I must bring to light the egregious acts perpetrated against me while I was in prison. The
authorities in Haiti poisoned the food brought by my relatives, a vile attempt on my life.
Fortunately, I vomited the poison due to the medication already present in my stomach, which I
had requested from an officer upon returning from the hospital.

Two months later, in a chilling incident that took place at 8:00 pm, officers brandished their
weapons within my prison cell, despite the prohibition of firearms on prison grounds. One
particular officer, Makendy, was among those who threatened me. My lawyer took immediate
action, bringing attention to these events through the press and social media platforms like
Facebook. They carried out these two egregious actions after I had left two voicemails for
government authorities. It became public knowledge that these attacks were in retaliation for my
attempts to communicate with government authorities.

Honorable Judge, it is evident that these individuals sought to silence me, fearing exposure of
their wrongdoing. But Agawou [TN: the Voodoo spirit of storms, winds, thunder and earth
tremors] said only if it aligns with God's will would such nefarious schemes come to pass.

On May 3, 2022, I was delivered from the clutches of these criminals when the FBI intervened.
I am ending this letter here and thank you for reading it, and for your patience and
understanding.




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                           CERTIFICATE OF TRANSLATION

 In compliance with 8 CFR 1003.33, I hereby certify that I, Régine
 Duroska-Murray, being at least 18 years of age, do swear and affirm
 that I am competent to translate from Haitian-Creole into English and
 English into Haitian Creole, and that the foregoing translation of a
 letter addressed to Judge John D. Bates dated April 16, 2024, in the
 matter of United States of America vs. Joly Germine Docket No.: 0090
 1:21CR00699-001 is a faithful translation to the best of my ability.

 Executed on this 14th day of June 2024.



Régine Duroska-Murray
Translator/ Transcriber and Interpreter, Haitian-Creole : English and French : English




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